       Case 4:19-cv-00028-BMM Document 51 Filed 08/01/19 Page 1 of 3



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Attorneys for Federal Defendants

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


 INDIGENOUS ENVIRONMENTAL                   CV 19-28-GF-BMM
 NETWORK, et al.,
                                            DEFENDANTS’ MOTION TO
            Plaintiffs,                     DISMISS PLAINTIFFS’
 v.                                         AMENDED COMPLAINT

 PRESIDENT DONALD J. TRUMP, et
 al.,

            Defendants.

      Defendants U.S. Department of State et al. hereby move, pursuant to Fed. R.
       Case 4:19-cv-00028-BMM Document 51 Filed 08/01/19 Page 2 of 3



Civ. P. 12(b)(1) and 12(b)(6), to dismiss Plaintiffs’ Amended Complaint for

Declaratory and Injunctive Relief (ECF No. 37). The grounds for this motion are

set forth in the accompanying memorandum in support.

      Respectfully submitted this 1st day of August, 2019,

                               LAWRENCE J. VANDYKE
                               Deputy Assistant Attorney General

                               /s/ Marissa A. Piropato________________
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                                        2
       Case 4:19-cv-00028-BMM Document 51 Filed 08/01/19 Page 3 of 3



                        CERTIFICATE OF SERVICE

      I hereby certify that on August 1, 2019, a copy of the foregoing Defendants’

Motion to Dismiss Plaintiffs’ Complaint was served on all counsel of record via

the Court’s CM/ECF system.


                               /s/ Marissa A. Piropato
                               MARISSA A. PIROPATO
                               U.S. Department of Justice




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